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                    Exhibit 4
  Case 2:22-cv-11402-TGB ECF No. 1-4, PageID.78 Filed 03/29/22 Page 2 of 22

                                                                                           US010447450B2

(12) Li
     United
        et al.
               States Patent                                            (10 ) Patent No.:              US 10 ,447 ,450 B2
                                                                        (45 ) Date of Patent:                        * Oct. 15 , 2019
(54 ) METHOD AND SYSTEM FOR                                                   H04L 1/ 00               (2006 .01)
        MULTI-CARRIER PACKET                                                  H04W 72 /04              ( 2009 .01)
        COMMUNICATION WITH REDUCED                                            H04 ) 11/ 00          (2006 .01)
        OVERHEAD                                                          H04W 52/ 14               ( 2009.01)
                                                                     (52) CPC
                                                                          U . S . CI.
                                                                                      .. H04L 5 /0053 ( 2013 .01 ) ; H04J 11 /005
(71 ) Applicant: Neocific , Inc., Bellevue , WA (US)                                  (2013 .01) ; H04L 1/ 0003 (2013 .01) ; H04L
( 72 ) Inventors : Xiaodong Li, Kirkland , WA (US) ;                                    1/ 0009 (2013 .01); H04L 1/ 0029 ( 2013.01) ;
                   Haiming Huang, Bellevue , WA (US) ;                                        H04L 5 /006 ( 2013 .01) ; H04L 5 /0007
                    Titus Lo, Bellevue, WA (US); Ruifeng                                ( 2013 . 01) ; H04L 5 /0044 ( 2013.01) ; H04L
                     Wang, Sammamish , WA (US)                                        27/ 2601 ( 2013 .01); H04W 52 / 146 (2013 . 01 );
                                                                                             H04W 72 /04 ( 2013 .01); H04W 72 /048
( 73 ) Assignee : Neocific, Inc., Bellevue, WA (US )                                             ( 2013 .01); H04L 5/0094 ( 2013.01)
                                                                     (58 ) Field of Classification Search
( * ) Notice: Subject to any disclaimer, the term of this                     CPC ..... H04L 5 /0053 ; H04L 1/0003 ; H04J 11 /005
                     patent is extended or adjusted under 35                See application file for complete search history.
                     U .S .C . 154 (b ) by 0 days.
                     This patent is subject to a terminal dis        Primary Examiner — Chandrahas B Patel
                     claimer .                                       (74 ) Attorney, Agent, or Firm - Perkins Coie LLP
(21) Appl. No.: 15 /676 ,421                                         (57)                   ABSTRACT
                                                                     A method and system for minimizing the control overhead
(22 ) Filed :        Aug. 14, 2017                                   in a multi- carrier wireless communication network that
                                                                     utilizes a time- frequency resource is disclosed . In some
(65 )                Prior Publication Data                          embodiments, one or more zones in the time- frequency
        US 2018 /0183558 A1 Jun . 28 , 2018                          resource are designated for particular applications, such as a
                                                                     zone dedicated for voice -over-IP (VOIP ) applications. By
                Related U .S . Application Data                      grouping applications of a similar type together within a
                                                                     zone, a reduction in the number of bits necessary for
(63 ) Continuation of application No. 14 /720 ,554, filed on         mapping a packet stream to a portion of the time- frequency
      May 22 , 2015 , now Pat. No. 9 ,735 , 944, which is a          resource can be achieved . In some embodiments, modular
      continuation of application No. 14 / 248,243 , filed on        coding schemes associated with the packet streamsmay be
        Apr. 8 , 2014 , now Pat. No . 9 , 042, 337 , which is a      selected that further reduce the amount of necessary control
        continuation of application No . 13 / 115 , 055 , filed on   information . In some embodiments , packets may be classi
        May 24 , 2011 , now Pat. No . 8 ,693 ,430 , which is a       fied for transmission in accordance with application type ,
        continuation of application No. 11 /908,257 , filed as        QoS parameters , and other properties . In some embodi
                         (Continued )                                ments, improved control messages may be constructed to
                                                                      facilitate the control process and minimize associated over
(51) Int . Cl.                                                       head .
        H04L 5 /00               (2006 .01)
        H04L 27/ 26              (2006 .01)                                           18 Claims, 12 Drawing Sheets

                                    100




                                                                                 BS
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                                                   US 10 ,Page
                                                          447,2450 B2

             Related U .S . Application Data
      application No. PCT /US2006 /038149 on Sep . 28 ,
      2006 , now Pat. No. 7,948 ,944.
(60 ) Provisional application No . 60 /721,451, filed on Sep .
      28, 2005 .
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Case 2:22-cv-11402-TGB ECF No. 1-4, PageID.81 Filed 03/29/22 Page 5 of 22


      atent                      Oct .15, 2019               Sheet 2 of 12                                         US 10. 447 ,450 B2

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Case 2:22-cv-11402-TGB ECF No. 1-4, PageID.82 Filed 03/29/22 Page 6 of 22



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      atent        Oct. 15 , 2019          Sheet 3 of 12               US 10 ,447,450 B2




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Case 2:22-cv-11402-TGB ECF No. 1-4, PageID.83 Filed 03/29/22 Page 7 of 22


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Case 2:22-cv-11402-TGB ECF No. 1-4, PageID.85 Filed 03/29/22 Page 9 of 22


          atent          Oct. 15 , 2019      Sheet 6 of 12          US 10 ,447,450 B2




                                    Zone
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Case 2:22-cv-11402-TGB ECF No. 1-4, PageID.86 Filed 03/29/22 Page 10 of 22


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Case 2:22-cv-11402-TGB ECF No. 1-4, PageID.88 Filed 03/29/22 Page 12 of 22


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Case 2:22-cv-11402-TGB ECF No. 1-4, PageID.90 Filed 03/29/22 Page 14 of 22


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Case 2:22-cv-11402-TGB ECF No. 1-4, PageID.91 Filed 03/29/22 Page 15 of 22


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                                            VCIDY

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                                                        US 10 ,447 , 450 B2
             METHOD AND SYSTEM FOR                                           requirements, the allocated resource region is irregular from
               MULTI-CARRIER PACKET                                          connection to connection . As a still further example , the
         COMMUNICATION WITH REDUCED                                          modulation and coding scheme for each connection is iden
                         OVERHEAD                                         tified by a 4 -bit MCS code , identified as either a downlink
                                                                        5 interval usage code (DIUC ) or an uplink intervalusage code
            CROSS -REFERENCE TO RELATED                                       (UIUC ). Another 2 bits are used to indicate the coding
                       APPLICATION (S )                                      repetition in addition to 3 bits for power control. Overall, the
                                                                             overhead of a MAP message is 52 bits . For applications such
   This application is a continuation of, and incorporates by                as voice - over- IP ( VOIP ), the payload of an 8 Kbps voice
reference in its entirety , U .S . patent application Ser. No. 10 codec is 20 bytes in every 20 ms. The overhead of the MAP
14 /720 ,554 , filed on May 22, 2015 , which is a continuation               message alone can therefore account for as much as 32 .5 %
of U . S . patent application Ser. No . 14 / 248 ,243, filed on Apr.         of the overall data communication , thereby resulting in a
8 , 2014 , now U . S . Pat. No . 9 , 042 , 337 , which is a continu -        relatively low spectral efficiency . It would therefore be
ation of U .S . patent application Ser. No. 13 / 115 ,055, filed on beneficial to reduce the overhead in a multi-carrier packet
May 24 , 2011 , now U .S . Pat. No. 8 ,693 ,430 , which is a 15 communication system to improve the spectral efficiency of
continuation of U . S . patent application Ser. No. 11 /908 , 257 ,          the system ,
filed on Jul. 14 , 2008 , now U . S . Pat. No . 7 , 948 , 944 , which
is a national stage application of PCT/US06 / 38149, filed                  BRIEF DESCRIPTION OF THE DRAWINGS
Sep . 28 , 2006 , which claims the benefit of U . S . Provisional
Patent Application No . 60 /721 ,451, filed on Sep . 28 , 2005. 20 FIG . 1 illustrates the coverage of a wireless communica
    This application is related to , and incorporates by refer - tion network that is comprised of a plurality of cells.
ence in its entirety , U . S . patent application Ser. No . 13 /631,     FIG . 2 is a block diagram of a receiver and a transmitter,
735 , filed on Sep . 28 , 2012 , now U . S . Pat. No . 8 ,634 ,376 .  such as might be used in a multi-carrier wireless commu
                                                                      nication network .
                      TECHNICAL FIELD                                   25      FIG . 3 is a block diagram depicting a division of com
                                                                             munication capacity in a physical media resource .
   The disclosed technology relates, in general, to wireless                   FIG . 4 is a graphical depiction of the relationship between
communication and, in particular, to multi-carrier packet                    a sampling frequency, a channel bandwidth , and usable
communication networks .                                                     subcarriers in a channel.
                                                                        30     FIG . 5 is a graphical depiction of the structure of a
                  BACKGROUND                                                 multi-carrier signal in the frequency domain .
                                                                               FIG . 6 is a block diagram of a time- frequency resource
   Bandwidth efficiency is one of the most important system                  utilized by a wireless communication network .
performance factors for wireless communication systems. In                     FIG . 7 is a block diagram of a classifier for classifying
packet based data communication, where the traffic has a 35 received packets by application, QoS, or other factor.
bursty and irregular pattern , application payloads are typi-                  FIGS. 8A and 8B are block diagrams of representative
cally of different sizes and with different quality of service               control message formats.
( QoS ) requirements. In order to accommodate different        FIG . 9 is a block diagram of a special resource zone with
applications , a wireless communication system should be     unit sequence defined in time-first order.
able to provide a high degree of flexibility . However, in 40 FIGS . 10A - 10C are block diagrams illustrating the real
order to support such flexibility, additional overhead is    located of resources within a resource zone .
usually required . For example , in a wireless system based on
the IEEE 802 .16 standard (“ WiMAX ” ), multiple packet                                      DETAILED DESCRIPTION
streams are established for each mobile station to support
different applications . At the medium access control (MAC ) 45                 A system and method forminimizing the control overhead
layer, each packet stream is mapped into a wireless connec -                 in a multi-carrier wireless communication network that
tion . The MAC scheduler allocates wireless airlink                          utilizes a time- frequency resource is disclosed . In some
resources to these connections. Special scheduling mes -                     embodiments , one or more zones in the time- frequency
sages , DL -MAP and UL -MAP, are utilized to broadcast the                 resource are designated for particular applications , such as a
scheduling decisions to the mobile stations.                            50 zone dedicated for voice - over - IP (VOIP ) applications. By
   In the MAP scheduling message defined by IEEE802. 16 ,                    grouping applications of a similar type together within a
there is significant control overhead . For example , each                   zone, a reduction in the number of bits necessary for
connection is identified by a 16 bits connection ID (CID ).                  mapping a packet stream to a portion of the time- frequency
 The CID is included in the MAP message to identify the                      resource can be achieved . In some embodiments, modular
mobile station . The maximum number of connections that a 55 coding schemes associated with the packet streamsmay be
system can support is therefore 65 ,536 . Each mobile station                selected that further reduce the amount of necessary control
has at least two management connections for control and                      information .
management messages and a various number of traffic                             In some embodiments, packets may be classified for
connections for application data traffic . As another example,               transmission in accordance with application type , los
each connection includes the identification of an airlink 60 parameters, and other properties . An application connection
resource that can correspond to any time/ frequency region                   specific identifier (ACID ) may also be assigned to a packet
that is allocated for communication . The resource allocation                stream . Both measures reduce the overhead associated with
is identified in the time domain scale with a start symbol                   managing multiple application streams in a communication
offset (8 bits ) and a symbol length (7 bits ) and in the network .
frequency domain scale with a start logical subchannel offset 65 In some embodiments , improved control messages may
(6 bits ) and a number of allocated subchannels (6 bits ) . Due              be constructed to facilitate the control process and minimize
to the fact that different applications have different resource              associated overhead . The control messages may include
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                                                     US 10 ,447 ,450 B2
information such as the packet destination , the modulation             a communication signal containing the data that is input to
and coding method, and the airlink resource used . Control              the transmitter 200 . Other forms of transmitter may, of
messages of the same application type or subtype , modula               course , be used depending on the requirements of the
tion and coding scheme, or other parameter may be grouped               communication network .
together for efficiency .                                           5      The receiver 205 comprises a reception component 230 ,
   While the following discussion contemplates the applica              a frame and synchronization component 235 , a fast Fourier
tion of the disclosed technology to an Orthogonal Frequency             transform component 240 , a frequency , timing , and channel
Division Multiple Access (OFDMA ) system , those skilled in      estimation component 245 , a subchannel demodulation
the art will appreciate that the technology can be applied to    component 250, and a channel decoding component 255 .
other system formats such as Code Division Multiple Access 10 The         channel decoding component de -interleaves, decodes,
 (CDMA ), Multi-Carrier Code Division Multiple Access and derandomizes                   a signal that is received by the receiver.
(MC -CDMA), or others. Without loss of generality , The receiver recovers                     data from the signal and outputs the
OFDMA is therefore only used as an example to illustrate data              for use by the mobile device or base station . Other
 the present technology . In addition , the following discussion formsof receiver may, of course , be used depending on the
uses voice -over- IP as a representative application to which 15 requirements      of the communication network .
the disclosed technology can be applied . The disclosed              FIG . 3 is a block diagram depicting the division of
technology is equally applicable to other applications communication                  capacity in a physical media resource 300
including , but not limited to , audio and video .
    The following description provides specific details for a (frequency
                                                                  e . g ., radio or cable ) into frequency and time domains . The
thorough understanding of, and enabling description for, 20 representedisin divided          into two or more subchannels 305 ,
                                                                                    the diagram as subchannels 1 , 2 , . . . m . Time
various embodiments of the technology. One skilled in the               is divided into two ormore time slots 310 , represented in the
art will understand that the technology may be practiced                diagram as time slots 1 , 2 , . . . n . The canonical division of
without these details . In some instances, well -known struc            the resource by both time and frequency provides a high
tures and functions have not been shown or described in           degree of flexibility and fine granularity for resource sharing
detail to avoid unnecessarily obscuring the description of the 25 between  multiple applications or multiple users of the
embodiments of the technology. It is intended that the                  resource .
terminology used in the description presented below be                    FIG . 4 is a block diagram representing the relationship
interpreted in its broadest reasonable manner, even though it           between the bandwidth of a given channel and the number
is being used in conjunction with a detailed description of
certain embodiments of the technology . Although certain 30 of   usable subcarriers within that channel. A multi -carrier
                                                              signal in the frequency domain is made up of subcarriers. In
termsmay be emphasized below , any terminology intended FIG       . 4 , the sampling frequency is represented by the vari
to be interpreted in any restricted manner willbe overtly and       able fs, the bandwidth of the channel is represented by the
specifically defined as such in this Detailed Description
section .                                                           variable Boh, and the effective bandwidth by the variable Box
I. Wireless Communication Network                                35 (Where
                                                                     where the
                                                                            the effective bandwidth is a percentage of the chan
   FIG . 1 is a representative diagram of a wireless commu          nel bandwidth  ). The number of usable subcarriers within the
nication network 100 that services a geographic region . The        channel is defined by the following equation :
geographic region is divided into a plurality of cells 105 , and
wireless coverage is provided in each cell by a base station
 (BS) 110 . One or more mobile devices (not shown ) may be 40                            # usable subcarriers = -   XN fft
fixed or may roam within the geographic region covered by
the network . The mobile devices are used as an interface
between users and the network . Each base station is con Where N is the length of the fast Fourier transform . Those
nected to the backbone of the network , usually by a dedi- skilled in the art will appreciate that for a given bandwidth
cated link . A base station serves as a focal point to transmit 45 of a spectral band or channel (Bob ), the number of usable
 information to and receive information from the mobile subcarriers is finite and limited , and depends on the size of
devices within the cell that it serves by radio signals. Note the FFT, the sampling frequency (f ), and the effective
that if a cell is divided into sectors , from a system engineer -       bandwidth ( B ) in accordance with equation 1 .
ing point of view each sector can be considered as a cell. In             FIG . 5 is a signal diagram depicting the various subcar
this context, the terms “ cell” and “ sector ” are interchange - 50 riers and subchannels that are contained within a given
able .                                                                  channel. There are three types of subcarriers : ( 1 ) data
   In a wireless communication system with base stations                subcarriers , which carry information data ; ( 2 ) pilot subcar
and mobile devices , the transmission from a base station to            riers , whose phases and amplitudes are predetermined and
a mobile device is called a downlink (DL ) and the trans -              made known to all receivers , and which are used for
mission from a mobile device to a base station is called an 55 assisting system functions such as estimation of system
uplink (UL ). FIG . 2 is a block diagram of a representative            parameters ; and (3 ) silent subcarriers, which have no energy
transmitter 200 and receiver 205 that may be used in base               and are used for guard bands and as a DC carrier. The data
stations and mobile devices to implement a wireless com -               subcarriers can be arranged into groups called subchannels
munication link . The transmitter comprises a channel encod - to support scalability and multiple -access . The subcarriers
ing and modulation component 210 , which applies data bit 60 forming one subchannel may or may not be adjacent to each
randomization , forward error correction (FEC ) encoding,     other. Each mobile device may use some or all of the
interleaving , and modulation of an input data signal. The              subchannels
channel encoding and modulation component is coupled to                   A multi -carrier signal in the time domain is generally
a subchannel and symbol construction component 215 , an                 made up of time frames , time slots , and OFDM symbols. A
inverse fast Fourier transform (IFFT) component 220 , and a 65 frame consists of a number of time slots, and each time slot
radio transmitter component 225 . Those skilled in the art     is comprised of one or more OFDM symbols . The OFDM
will appreciate that these components construct and transmit time domain waveform is generated by applying an inverse
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fast -Fourier-transform (IFFT) to the OFDM symbols in the           information necessary to map to an arbitrary starting and
frequency domain . A copy of the last portion of the time           ending coordinate in the entire time- frequency resource .
domain waveform , known as the cyclic prefix (CP), is            Within each zone 6050 , 605b , . . . 605n , the time
inserted in the beginning of the waveform itself to form an   frequency resource may be further divided in accordance
OFDM symbol.                                                5 with certain rules to accommodate multiple packet streams
   In some embodiments, a mapper such as the subchannel V1, V2, . . . Vm . For example , as depicted in FIG . 6 , zone
and symbol construction component 215 in FIG . 2 is 605a is divided into multiple columns and the packet
designed to map the logical frequency /subcarrier and OFDM    streams are arranged from top down in each column and
symbol indices seen by upper layer facilities , such as the from left to right across the columns . The width of each
MAC resource scheduler or the coding and modulation 10 column can be a certain number of subcarriers . Each packet
modules , to the actual physical subcarrier and OFDM sym            stream V1, V2, . . . Vm may be associated with an application .
bol indices. A contiguous time-frequency area before the            For example , V , is the resource segment to be used for the
mapping may be actually discontinuous after the mapping            first voice packet stream , V , is the resource segment to be
and vice versa . On the other hand , in a special case, the        used for the second voice packet stream , etc . While the zone
mapping may be a “ null process ” , which maintains the same 15 605a is divided and the packet streams numbered starting at
time and frequency indices before and after the mapping . an origin of the zone, it will be appreciated that the division
 The mapping process may change from time slot to time of the time- frequency resource in accordance with certain
slot, from frame to frame, or from cell to cell. Without loss rules may start at other origin locations within the zone as
of generality , the terms “ resource ” , “ airlink resource ” , and well . Segments within each zone may be dynamically allo
" time- frequency resource” as used herein may refer to either 20 cated by the system as requested and released by the system
the time- frequency resource before such mapping or after when expressly or automatically terminated .
such mapping .                                                         When the zones are further subdivided into time- fre
II. Airlink Resource Zones                                          quency segments in accordance with certain rules , a map
    Various technologies are now described that may be ping of packet streams to segment may be achieved using a
utilized in conjunction with the wireless communication 25 one- dimensional offset with respect to the origin of the zone
network 100 in order to reduce the amount of control rather than the two - dimensional ( i. e . starting time- frequency
overhead  associated with the use of system resources . By
reducing the control overhead , greater spectral efficiency is
                                                                    coordinate and ending time- frequency coordinate relative to
                                                                    the starting point of the zone) mapping method discussed
achieved allowing the system to , among other benefits ,            above. Calculation of such an offset may require knowledge
maximize the amount of simultaneously supported commu- 30 of a modulation and coding scheme that is associated with
nications.                                                          a particular packet stream . For example , Table 1 below sets
   FIG . 6 is a map of a time- frequency resource 600 that is       forth representative modulation and forward - error correc
allocated for use by the wireless communication network             tion (FEC ) coding schemes (MCS ) that may be used for
100 . As described above, in a typical wireless system based        voice packet streams under various channel conditions.
on the IEEE 802. 16 standard (“ WiMAX ” ), multiple packet 35
streams are established for each mobile device to support                                     TABLE 1
different applications . At the medium access control (MAC )
layer , each packet stream is mapped into a wireless connec                                Coding                     Raw
tion . As a result, various applications carried in packet MCSI    M      Modulation        rate Information bits symbols Units
streams may be spread throughout the available time- fre - 40 1           160AM                        160           80
quency resource . To overcome the inefficiencies associated
with maintaining thismapping, FIG . 6 depicts an alternative
way of managing multiple packet streams. The time-fre
quency resource 600 may be divided into one ormore zones
                                                                   Hnmt   QPSK
                                                                          QPSK
                                                                           QPSK             ??
                                                                                                       160
                                                                                                       160
                                                                                                       160
                                                                                                                    160
                                                                                                                    320
                                                                                                                    640 - 8


6050 , 605b , . . . 605n . Each of the zones 6050 , 605b , . . . 45 In some embodiments , the MCS may be selected to utilize
605n is associated with a particular type of application . For modular resources. For example , as illustrated in Table 1 , 80
example, zone 605a may be associated with voice applica - raw modulation symbols are needed to transmit 160 infor
tions (e.g ., VoIP ), zone 605b may be associated with video mation bits using 16QAM modulation and rate -1 /2 coding ,
applications, and so on . As will be described in additional the highest available MCS in the table . The resource utilized
detail below , by grouping like applications together the 50 by this highestMCS is called a basic resource unit (“ Unit ” ),
amount of control overhead in MAC headers is reduced . i.e ., 80 raw symbols in this example . The resource utilized
Zones may be dynamically allocated , modified , or termi- by other MCS is simply an integermultiple of the basic unit .
nated by the system .                                              For example, four units are required to transmit the same
   When applications of a similar type are grouped together number of information bits using QPSK modulation with
within a zone, a reduction in the number of bits necessary for 55 rate - 1 / 4 coding. The MCS index (MCSI) conveys the infor
mapping a packet stream to a time- frequency segment can          mation about modulation and coding schemes. For a known
be achieved . In some embodiments , the identification of the     vocoder, MCSI also implies the number of AMC resource
time- frequency segment associated with a particular packet       units required for a voice packet. Those skilled in the art will
stream can be indicated by the starting time- frequency             appreciate that coding and signal repetition can be combined
coordinate and the ending time- frequency coordinate rela - 60 to provide lower coding rates . For example , rate - 1 / 8 coding
tive to the starting point of the zone . The granularity in the can be realized by a concatenation of rate - 1 / 2 coding and
time coordinates can be one or multiple OFDM symbols,               4 -time repetition .
and that in the frequency coordinates can be one or multiple           The decision process for selecting the proper MCS of a
subcarriers. If the time- frequency resource is divided into       packet can vary by application . In some embodiments, the
two or more zones, the amount of control information 65 process for voice packets can be more conservative than that
necessary to map to a location relative to the starting point        for general data packets due to the QoS requirements of the
of the zone may be significantly less than the amount of            voice applications. For example , when the signal to inter
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ference noise ratio (SINR ) is used as a threshold for select-      allocates a fixed amount of resource to each voice connec
ing the MCS, the threshold value for voice packets is set           tion . The system uses AMC and matches it with adaptive
higher than that for general data packets. For example , the        multi- rate (AMR ) voice coding to improve the voice quality .
SINR threshold of QPSK with rate - 1 / 2 coding for voice      Moreover , unused resources in one application zone may be
packets is 12 dB , while that for general data packets is 10 5 allocated for other applications.
dB .                                                              In a system with one or multiple application zones, the
   If a MCS from Table 1 is selected for each packet stream         remaining resource unused by the application zones can be
contained in a particular zone , the offset to a segment            treated as a special resource zone . The special resource zone
representing a particular packet stream may be easily cal-          may be irregular in shape . For example , FIG . 9 depicts a
culated . For example , an index VZI , VZI , . . . VZI, is 10 time- frequency resource 900 having three defined zones
shown at the origin of each segment that is contained in the        905 , 910, and 915 . The remaining resource area that is
zone 605a . The index for any selected packet stream is             shaded in the figure represents the special resource zone.
defined as the sum ofall basic resource units associated with       TheMAC scheduler may track the time- frequency resources
each packet stream preceding the selected packet stream ,           in this special zone and broadcast the resource allocation in
with an optional adjustment depending on the location 15 a special zone MAP message . In some embodiments , the
where the division of the time- frequency resource is started       special zoneMAP message explicitly identifies the resource
(typically no adjustment is required since the division starts zone , for example using the time and frequency coordinates
at the origin of the zone). For example , the location index for of a resource block . A mobile device can identify its own
the first voice packet stream is VZI, = 0 since it starts at the resource by decoding the MAP message .
origin of the zone 605a . The first packet stream has an MCS 20 In some embodiments, both the base station and the
of 1 , which implies that one basic resource unit is used . As      mobile device share the configuration information of the
a result, the index for the second voice packet stream is       special resource zone, and view the special zone as a
VZI, = 1 . The second packet stream has an MCS of 4 , which     contiguous resource zone . The MAP message only includes
implies that eight basic resource units are used . As a result, the resource allocation information in the special resource
the index for the third voice packet stream is VZIz = 9 , 25 zone , using connection ID ( described below ), resource iden
arrived by summing the basic resource units used for the tification parameters and MCS index .
preceding first and second packet streams.                         In some embodiments, the MAP message can be further
   Using basic resource units as the granularity of a location      compressed if the special resource zone is further divided
offset to the packet stream reduces the number of bits              into a sequence of pre -defined resource units . For example ,
required to represent its location with the zone 605a . For 30 the shaded area in FIG . 9 has been further divided into
example , to support a maximum of64 VoIP calls in a cell, 101  forty -two resource units 920 , first numbered sequentially
a maximum of 64x8 = 512 units might be used , assuming that         along the time axis and then continuing in columns along the
every voice packet is transmitted using the lowest MCS .            frequency axis . If the size of each resource unit is pre
Therefore, a 9 -bit number is sufficient to represent a VZI. In     defined , the location within the special resource zone may be
practice , different voice packets may be transmitted using 35 determined based on a mapping to a sequence number.
differentMCSs, somewith MCSI= 1 , some with MCSI= 4 , so       III . Application Connection IDs
on so forth . According to statistics , a shorter bit-length than     When a mobile device enters a wireless network , it is first
the maximum needed , for example 8 bits , may be used for           assigned a basic connection identification (BCID ) for each
VZI for practical purpose .                                         direction of the wireless connection : downlink and uplink . A
  In some embodiments , control information necessary to 40 BCID can be used for control messages or generic (unclas
map a packet stream to a resource segment may be still              sified ) application connections . The BCID for downlink may
further reduced . In the case where an MCS is used with             or may not be the same as that of the uplink .
packet streams that are located sequentially in the zone . The        In some embodiments , a classification of packet streams
index of a packet can be inferred from the MCSI of the may be performed by the system . FIG . 7 is a block diagram
packets located before the subject packet. For example , if 45 of a system component 700 for receiving IP packets and
the first voice packet stream uses MCSI, = 1 , 16QAM with      sorting the received packets into various streams. The sys
1 /2 coding , and the second voice packet stream uses          tem component 700 includes a classifier 705 having asso
MCSI2 = 4 , QPSK with 1 /8 coding, then the first two voice ciated classification rules 710. The classifier receives incom
packet streamsoccupy 1 + 8 = 9 units , and the starting location ing packets, each packet having various header information
of the third voice packet stream is the 9th unit. Rather than 50 such as an Ethernet header 715 , an IP header 720 , a UDP
encode the index for each packet stream in the control              header 725 , an RTP header 730 and an RTP payload 735 .
information , the index can be omitted in the controlmessage        The packets are classified by the classifier 705 and output
and the offset from the origin of the zone calculated as            into different application data queues 740 where they will
necessary .                                                         subsequently be transmitted by an OFDMA transmitter 745 .
   Allocation of the time-frequency resource 600 can be 55             The classifier 705 is able to classify the packets based on
carried out in a variety of ways. In some embodiments, an           application type , quality of service (QoS ) requirement, or
application zone may contain all subcarriers of one or              other properties. For example , packets from a voice appli
multiple OFDM symbols or time slots . In some embodi-               cation stream are identified based on a special value in the
ments, the definition of an application zone, such as the type of service ( TOS ) field in the IP header 720 of the
location and size of the zone , may be different from cell- 60 packets. A new combination of RTP /UDP/IP headers with
to - cell 105 . In some embodiments, in order to avoid inter        the special IP ToS field value indicates a new voice appli
cell interference the zones of similar applications are allo -      cation stream . Such a new stream is identified by peeking
cated at different locations in neighboring cells . For         into voice session setup protocolmessages , such as session
example, voice applications may be located at a lower initiation protocol (SIP ). The classification performed by the
frequency range in the time- frequency resource in one cell, 65 classifier is based on one or more classification rules 710 .
and at a higher frequency range in the time-frequency range     The classification rules can be configured statically or
in an adjacent cell . In some embodiments , the system              dynamically by a control process . Each classification rule is
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                                                    US 10 ,447 ,450 B2
                                                                                                      10 .
defined using parameters , such as application type, QoS              IV . Control Messages
parameters, and other properties that may be determined                 When airlink resource zones or application -specific IDs
from the received packets.                                            are utilized by the system , various improved control mes
   In some embodiments, the incoming packets may also be              sages , often called Information Elements ( IEs), may be
assigned an application connection -specific identifier 5 constructed to facilitate the controlprocess and minimize the
 (ACID ) in addition to or in lieu of a BCID . Each ACID can control overhead . Various control message improvements
be assigned to a corresponding packet stream . For example , areIndescribed         herein .
                                                                         some embodiments , the IE is sent prior to transmitting
 an ACID can be assigned to voice packets that together make an application         packet to indicate information associated with
up a voice application . When an ACID is assigned to a voice
                                                                 10 the packet
 application , the ACID may also be referred to as a voice and coding method    , such as the packet destination , the modulation
 connection ID (VCID ). As another example , an ACID can be                                , and the airlink resource used . For
 assigned to a packet stream that requires a particular QoS . example        , the IE for a voice packet may include the VCID
                                                                    (indicative of the packet destination ), the MCSI (encoding
Furthermore, an application packet stream can be further scheme             ), and the VZI (index to location fo the packet stream
 classified into diferent sub -types , based on certain proper- 15 within the airlink resource ). In some embodiments, the
 ties of that application . For example , voice applications can    VCID is 6 bits , the MCSI is 2 bits, and the VZI is 8 bits ,
be further classified into different sub -types based on the thereby resulting in a 2 -byte IE overhead for each voice
voice source coding (vocoder) methods (e.g ., G .711 and packet. Alternatively, the IE for a voice packet may include
 G .729A ). When further classified in this matter, the sub         only the VCID and the MCSI, with the VZI inferred from the
 types may each be assigned their own ACID . For certain 20 MCSIs of previous packet streamsin the airlink resource as
multi -casting applications, an ACID may also be shared by described above . When using only the VCID and MCSI, the
multiple base stations or mobile devices.                           IE overhead for each voice packet is reduced to only 1 byte .
  Once established , the connection IDs, including BCIDs Additional control information , such as power control infor
and ACIDs, are disseminated , through broadcasting mes - mation , can be added to the IE with additional bit fields. The
sages for example , to the corresponding base station ( s ) and 25 reduction in control bits improves the overall bandwidth
mobile device ( s ) for proper packet transmission and recep - efficiency of the wireless communication network .
tion. As was previously discussed , the medium access con               In some embodiments, a base station sends the IE before
trol (MAC ) schedulermay allocate specific zones of airlink           a downlink packet to inform the mobile device for proper
resources for certain types of packet streams.                        reception of the packet, and the base station sends the IE
                                                      vetem 30 before an uplink packet to inform the mobile device for
   A connection ID is released once the wireless system         proper transmission of the packet . The downlink and uplink
determines that there is no need to continue the connection . packet
For example, a voice connection and its VCID are released be broadcasted  IEs may be separately grouped together. The IEsmay
once the system detects deactivation of the voice stream . In                      or multi -casted to corresponding destina
                                                                tions.
some embodiments , the voice connection is deactivated      if
the voice session disconnect is detected through livaled
                                                   snooping1 35 typeIn orsome  embodiments, the IEs of the same application
                                                                           subtype may be grouped together. A special field ,
SIP signaling. In some embodiments , the voice connection called an Application MAP (AMAP ) subheader, for a spe
is released if there is no voice packet activity on the   he    cific application type , may be added to the IE . The subheader
connection for a certain period of time.                              may indicate the application type and the length of the IE
   In some embodiments, the same bit length is used in 40 group . FIG . 8A is a block diagram of a representative IE 800
different types of connections IDs, including BCIDs and   with an AMAP subheader 805 , in this case used for voice
ACIDs. In some embodiments, different types of connection applications. The AMAP subheader 805 includes a type
IDs may have different bit lengths. For example , in a typical        variable and a length variable. As depicted in FIG . 8A ,
implementation for voice applications, a BCID may be                  type = 01 indicates that the application type is voice .
16 -bits to accommodate a large number of mobile devices 45 Length = 3 indicates that the subheader is followed by three
and unclassified applications , while a VCID is 6 -bits to            voice IEs. The remainder of the IE contains the three voice
accommodate up to 64 simultaneous voice connections in a              IES 810a , 810b , and 810c . For example, if the AMAP
cell. A shorter ACID length is beneficial for reducing control        subheader was associated with streams in the zone 605a
overhead , especially when an application utilizes many               depicted in FIG . 6 , then voice IE 810a would pertain to
small data packets , such as VoIP packets .                        50 packet stream V , voice IE 810b would pertain to packet
   In some embodiments , an ACID is further augmented by              stream V ., and voice IE 810c would pertain to packet stream
other properties of the utilized airlink resources, such as time      V3. Those skilled in the art will appreciate that the although
or frequency indices, to identify an application connection .         text is used to indicate the contents of the IE in FIG . 8A , in
This can be used to further reduce ACID bit length or to              an actual implementation the text would be replaced by
increase the maximum number of accommodated applica - 55 appropriately coded information .
tion connections given a certain ACID bit length . For                  In some embodiments , the IEs for all packets that are
example , a voice codec generates voice application data              transmitted with the samemodulation and coding schemes
periodically . The allocation period is usually a multiple of (MCS ) are grouped together for efficiency . FIG . 8B is a
the airlink frame duration . In this case , the airlink frame block diagram of a block 850 of IEs that are grouped by
number can be combined with a VCID to identify a voice 60 MCS . A frame control header (FCH ) 855 or other control
connection . For example , the voice codec of G .723 .1 gen -         message is transmitted prior to the block to indicate the
erates a voice frame once every 30 milliseconds . The MAC             length and the MCS used for each segment of the block . In
scheduler allocates airlink resource to such a voice connec -         some embodiments, adaptivemodulation and coding (AMC )
tion once every 30 ms. In a wireless cellular system using 5          is used for the transmission of the IE ' s . A special rule , which
ms frame duration , a single VCID can be shared by 6 voice 65 is known to both base stations and mobile devices, can be
streams, each associated with a different frame number to     used to determine the IE MCS, based on the MCS of its
uniquely identify a voice connection .                        corresponding packet for proper reception of the IE . In some
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                          11                                                                       12
embodiments , the MCS for an IE is maintained the same as            connection VCID 6 uses the same coding and modulation
that of its corresponding application packet . In some               scheme as voice connection VCID 2 , and is the last con
embodiments , the MCS for an IE is one level more conser -           nection having that scheme in the zone . When voice con
vative than that of its corresponding packet. For example , if       nection VCID 2 goes into a silent period, the MAC scheduler
the MCSI for a packet is 2 (QPSK with rate - 1 /2 coding ), 5 allocates the voice connection VCID 2 resource to voice
then the MCSI for its IE is 3 ( QPSK with rate - 1 /4 coding ).      connection VCID 6 . The MAC scheduler then moves
V . Voice Activity Detection                                         resources after voice connection VCID 6 , specifically VCID
   Typical voice conversations contain approximately 50              7 in FIG . 10C , to occupy the resource allocation gap that is
percent silence . In order to take advantage of the fact that        caused by moving voice connection VCID 6 .
about half of the time data does not need to be transmitted 10          The above detailed description of embodiments of the
at the same rate as when a user is speaking , the system may         system is not intended to be exhaustive or to limit the system
rely upon detecting the period of silence and reducing the           to the precise form disclosed above. While specific embodi
effective data transfer rate during that period . The silence       m ents of, and examples for, the system are described above
period in conversation is detected by a vocoder using           for illustrative purposes , various equivalent modifications
technologies such as Voice Activity Detection (VAD ) . Voice 15 are possible within the scope of the system , as those skilled
packets are only generated when voice activity is detected      in the relevant art will recognize . For example, while
During the silence period , the voice packet data rate is            processes are presented in a given order , alternative embodi
greatly reduced                                                      ments may perform routines having steps in a different order,
   In addition to reducing the voice packet data rate during         and some processes may be deleted , moved , added , subdi
periods of silence , the bandwidth allocation for the voice 20 vided , combined , and / or modified to provide alternative or
connection may also be reduced . The MAC scheduler at the subcombinations. Each of these processes may be imple
base station may use the indication of voice activity to adjust     m ented in a variety of different ways . Further any specific
the bandwidth allocation for the voice connection . In the           numbers noted herein are only examples: alternative imple
uplink direction, the mobile device sends a special MAC              mentations may employ differing values or ranges .
message once a VAD indication is received from its vocoder. 25          These and other changes can be made to the invention in
The MAC message indicates to the base station that the               light of the above Detailed Description . While the above
voice data rate is being temporarily reduced . When such an          description describes certain embodiments of the technol
indication is received , the MAC scheduler can reduce the            ogy , and describes the best mode contemplated , no matter
airlink resource allocated to the voice connection . Similarly,      how detailed the above appears in text, the invention can be
if the VAD indicates new voice activity , the mobile device 30 practiced in many ways. Details of the system may vary
notifies the base station using a MAC message and the                considerably in its implementation details , while still being
original resource allocation is re -applied to the voice con -       encompassed by the technology disclosed herein . As noted
nection .                                                            above , particular terminology used when describing certain
   In the downlink direction , if there is no voice packet to be features or aspects of the technology should not be taken to
transmitted over a voice connection , the MAC scheduler 35 imply that the terminology is being redefined herein to be
allocates the resource to other voice connections. As a              restricted to any specific characteristics, features, or aspects
consequence , a resource block previous allocated for the            of the technology with which that terminology is associated .
connection in a particular zonemay become vacant. Several            In general, the termsused in the following claims should not
methods can be used to deal with such fragmentation in the           be construed to limit the invention to the specific embodi
zone .                                                            40 ments disclosed in the specification , unless the above
   In some embodiments , the MAC scheduler at the base               Detailed Description section explicitly defines such terms.
station reallocates the resource with the objective of mini-          Accordingly , the actual scope of the invention encompasses
mizing the impact to other voice connections, such as their          not only the disclosed embodiments , but also all equivalent
adaptive modulation and coding processes.                            ways of practicing or implementing the invention under the
   In some embodiments, the MAC scheduler maintains the 45 claims.
resource allocation of the other voice connections , and           We claim :
allocates the resource vacated by the silent voice connection       1. An operating method for a wireless network comprising
to new voice connections or other application packets.           at least a base station and a mobile station , the wireless
   In some embodiments, the MAC scheduler moves all the network employing a frame structure of multiple frames for
subsequent allocations up to fill the resource gap . As shown 50 transmission , each frame comprising a plurality of time
in FIG . 10A , once a voice connection , identified by VCID 2    intervals , each time interval comprising a plurality of
enters a silent period , the other voice connections are moved   orthogonal frequency division multiplexing (OFDM ) sym
by the MAC scheduler to occupy the resource vacated by bols, and each OFDM symbol containing a plurality of
VCID 2 .                                                             frequency subcarriers , the method comprising :
   In some embodiments, the MAC scheduler uses the last 55              assigning an identifier to the mobile station ;
voice time- frequency resource in the same zone to fill the             transmitting a signal containing information from the base
resource gap of a silent voice connection. FIG . 10B illus                station to the mobile station over a segment of time
trates such a case , when the MAC scheduler moves the last                 frequency resource, the segment having a starting time
voice connection VCID 12 to occupy the resource allocation                 frequency coordinate and the segment comprising N
gap that is vacated by the voice connection VCID 2 . - 60                  time- frequency resource units within a time interval,
   In some embodiments, the MAC scheduler uses the last                    each unit containing a set of frequency subcarriers in a
voice time- frequency resource that has the same coding and                group of OFDM symbols, where N = 2 , 4 , or 8 ; and
modulation scheme, and is contained in the same zone, to fill           receiving by the mobile station the transmitted signal; and
the resource gap . The resource gap that is introduced by such          recovering by the mobile station the information from the
a replacement is then filled by the voice time- frequency 65              received signal based on the starting time- frequency
resource that is subsequent to the voice time- frequency                   coordinate and N in conjunction with the identifier
resource that was moved . As shown in FIG . 10C , voice                    assigned to the mobile station .
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                           13                                                                    14
   2 . The method of claim 1, wherein the starting time           11. Themobile device of claim 7 , wherein modular coding
frequency coordinate indicates a starting OFDM symbol of is applied to the time- frequency resource units in the seg
the segment of time- frequency resource .                      ment of time-frequency resource .
   3. The method of claim 1, wherein the starting time            12 . The mobile device of claim 11 , wherein a repetition
                                                        the 55 coo
frequency coordinate indicates a starting subcarrier of the     coding is further applied to the time-frequence resource
segment of time- frequency resource .                          units .
   4 . The method of claim 1 , wherein the starting time          13 . A base station in a wireless packet system using a
frequency coordinate indicates a starting group of subcarri         frame structure of multiple frames for transmission , each
ers of the segment of time- frequency resource .                    frame comprising a plurality of time intervals , each time
   5 . The method of claim 1 , wherein modular codingo isis 1010 division
                                                                   interval comprising a plurality of orthogonal frequency
                                                                             multiplexing (OFDM ) symbols , and each OFDM
applied to the time- frequency resource units in the segment symbol containing            a plurality of frequency subcarriers, the
of time- frequency resource .
   6 . The method of claim 5 , wherein a repetition coding is base station configured to :
 further applied to the time- frequence resource units .              provide an identifier to a mobile device in the cell;
    7 . A mobile device in a wireless packet system using a 15 allocate        a segment of time-frequency resource for carry
                                                                         ing information to the mobile device , the segment
 frame structure of multiple frames for transmission , each             having a starting time- frequency coordinate and the
frame comprising a plurality of time intervals , each time               segment comprising N time- frequency resource units
interval comprising a plurality of orthogonal frequency                 within    a time interval, each unit containing a set of
division multiplexing (OFDM ) symbols , and each OFDM                    frequency subcarriers in a group of OFDM symbols,
symbol containing a plurality of frequency subcarriers, the 20          where N = 2 , 4 , or 8 ; and
mobile device configured to :                                         transmit  a signal containing the information to themobile
   receive an identifier from a base station in a cell in which         device    in a manner that allows the mobile device to
       the mobile device is operating ; and                              recover the information using the starting time-fre
   receive a signal containing information from the base
       station over a segment of time- frequency resource , the 25       quency coordinate and N in conjunction with the pro
       segment having a starting time- frequency coordinate              vided identifier.
        and the segment comprising N time- frequency resource time14-.frequency
                                                                           The base station of claim 13 , wherein the starting
                                                                                      coordinate indicates a starting OFDM sym
     units within a time interval, each unit containing a set bol of the segment of time- frequency resource .
     of frequency subcarriers in a group of OFDM symbols ,
     where N = 2 , 4 , or 8 ; and                            30 15 . The base station of claim 13 , wherein the starting
  recover the information from the received signal using the time - frequency coordinate indicates a starting subcarrier of
     starting time- frequency coordinate and N in conjunc the16segment
                                                                   .  The
                                                                           of time- frequency resource .
                                                                          base station of claim 13 , wherein the starting
     tion with the received identifier.
  8 . The mobile device of claim 7 , wherein the starting time-frequency coordinate indicates a starting group of
time-frequency coordinate indicates a starting OFDM sym - 3535 Ssubcarriers  of the segment of time-frequency resource .
                                                                   17 . The base station of claim 13 , wherein modular coding
bol of the segment of time- frequency resource .                    is applied to the time-frequency resource units in the seg
   9 . The mobile device of claim 7 , wherein the starting
time-frequency coordinate indicates a starting subcarrier of       ment of time- frequency resource .
the segment of time-frequency resource .                               18 . The base station of claim 17 , wherein a repetition
                                                         ng 4040 coo
   10 . The mobile device of claim 7 , wherein the starting      coding is further applied to the time-frequence resource
                                                                   units
time- frequency coordinate indicates a starting group of
subcarriers of the segment of time-frequency resource .
